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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
                                      WESTERN DIVISION
 11
 12   JENNY LISETTE FLORES, et al.,           Case No. CV 85-4544-DMG-AGRx
 13   Plaintiffs,                             PLAINTIFFS’ RESPONSE TO EX PARTE
 14                                           APPLICATION RE INTERVENTION
      v.
 15
 16   WILLIAM BARR, Attorney General of the
      United States, et al.,                    Hearing: None
 17                                            [HON. DOLLY M. GEE]
 18   Defendants.
 19
 20
      ///
 21
 22
 23
 24
 25
 26
 27
 28


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  1
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 15
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      ///
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                                           ii        PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1
      I.    INTRODUCTION
  2         Plaintiffs do not believe intervention is justified on the ground that Class
  3   Members are not adequately represented by Plaintiffs’ counsel. The history of the
  4   litigation makes this clear. Plaintiffs have won numerous decisions enforcing the
  5   terms of the Settlement and successfully opposed several efforts by Defendants to
  6   terminate the Settlement.1 If intervention is granted, it may not be based upon the
  7   adequacy of representation of the class.
  8         Plaintiffs believe that the positions of the proposed Intervenors should be
  9   fully considered by the parties, the Special Master/Independent Monitor, and the
 10   Court. To that end, they have no objection to the Court briefly deferring issuing an
 11   Order adopting a protocol for parents to exercise their children’s release rights so
 12
      1
 13     See, e.g., Order, July 24, 2015, ECF No. 177 (finding Defendants in breach of the
      Flores Settlement for their blanket no release policy for accompanied minors);
 14
      Order, Aug. 21, 2015, ECF No. 189 (ordering Defendants to correct several
 15   outstanding noncompliance issues related to processing Class Members in their
      custody for release); Order, Jan. 20, 2017, ECF No. 318 (finding Defendants in
 16
      breach of the Flores Settlement by not providing Class Members in their custody
 17   with bond hearings); Order, June 27, 2017, ECF No. 363 (finding Defendants in
 18
      breach of the Flores Settlement by failing to provide safe and sanitary conditions
      for Class Members in CBP and ICE custody); Order, July 9, 2018, ECF No. 455
 19   (denying Defendants’ motion to modify the Settlement); Order, July 30, 2018, ECF
 20
      No. 470 (finding Defendants breached the Settlement by improperly medicating and
      transferring Class Members in ORR custody to secure facilities); Order, Oct. 5,
 21   2018, ECF No. 494 (appointing a Special Monitor to monitor Defendants’
 22   compliance with the Settlement); Order, Sep. 27, 2019, ECF No. 688 (blocking
      Defendants’ from implementing regulations that are inconsistent with the
 23   Settlement); Order, Mar. 28, 2020, ECF No. 740; Order, Apr. 24, 2020, ECF No.
 24   784; Order, May 22, 2020, ECF No. 799; Order, June 26, 2020, ECF No. 833. See
      also Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016) (finding the Settlement applies
 25   to accompanied minors but not their parents); Flores v. Sessions, 862 F.3d 863 (9th
 26   Cir. 2017) (affirming the right of Class Members to bond hearings under the
      Settlement); Flores v. Barr, 934 F.3d 910 (9th Cir. 2019) (affirming this Court’s
 27   order that Defendant’s provide specific hygiene supplies and improved sleeping
 28   conditions and finding these requirements did not modify the terms of the
      Settlement)
                                                            PLAINTIFFS’ RESPONSE TO EX PARTE APPLICATION RE
                                                 -1-                                          INTERVENTION
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  1   the amici/proposed Intervenors can have full input into the meet and confer process
  2   and share their views with the parties, the Special Master, and if necessary the
  3   Court.
  4            As discussed infra, the proposed Intervenors have frequently met and
  5   conferred with Plaintiffs’ counsel and the Special Master whenever they wished to
  6   do so and are free to continue doing so. They have also repeatedly expressed their

  7   views in their declarations filed by Plaintiffs and in their capacity as amici parties,

  8   and may continue to do so.

  9
               If the three proposed Intervenors possess Flores rights not being honored by
      ICE, or adequately litigated by Plaintiffs, or satisfactorily addressed by this Court,
 10
      they may also seek individual judicial review in a federal district court under
 11
      Paragraph 24B and Exhibit 6 of the FSA.2
 12
               The proposed Intervenors’ Application reviews in some detail several but not
 13
      all of the Orders the Court has issued since 2015 in response to successful
 14
      enforcement motions brought by Plaintiffs’ counsel. Application at 2-8. [Doc. #
 15
      854]. This partial recitation of the multiple Orders Plaintiffs’ counsel have obtained
 16
      and appeals they have won hardly indicates that Plaintiffs’ counsel are inadequately
 17
      representing the class. See footnote 1, supra.
 18
               Most recently, in light of the COVID-19 pandemic, Plaintiffs filed an
 19
      emergency application for class relief on March 24, 2020, and since that date, at
 20   Plaintiffs’ request, the Court has issued several remedial Orders on March 28, 2020
 21   [Doc. # 740], April 24, 2020 [Doc.# 784], May 22,2020 [Doc.# 799], and June 26,
 22
 23   2
        Paragraph 24B provides: “Any minor who disagrees with the INS's determination
 24   to place that minor in a particular type of facility, or who asserts that the licensed
      program in which he or she has been placed does not comply with the standards set
 25   forth in Exhibit l attached hereto, may seek judicial review in any United States
 26   District Court with jurisdiction and venue over the matter to challenge that
      placement determination or to allege noncompliance with the standards set forth in
 27   Exhibit 1. In such an action, the United States District Court shall be limited to
 28   entering an order solely affecting the individual claims of the minor bringing the
      action.”
                                                 2            PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   2020. [Doc.# 833].
  2         The proposed Intervenors’ Application argues in favor of a policy or court
  3   Orders that would result in the release of parents with their class member children.
  4   Application at 10-11. Plaintiffs have unsuccessfully sought release of parents with
  5   their children. This Court and the Court of Appeals have made clear that the Flores
  6   Settlement confers no release rights on parents.

  7         Since at least 2015, this Court and the Court of Appeals have also made clear

  8   that the Flores Settlement extends conditions and release rights to both

  9
      unaccompanied and accompanied children. Also since at least 2015, this Court has
      made clear, with the parties’ agreement, that the Flores Settlement does not require
 10
      or permit the release of accompanied children over the objection of their
 11
      accompanying parents. In short, under Paragraph 14 of the Settlement,
 12
      accompanying children, unless they are a flight risk or a danger, have the right to be
 13
      released to relatives or a licensed group home if that is what their accompanying
 14
      parent believes is in their child’s best interest.
 15
            By way of context, until relatively recently, Defendants achieved substantial
 16
      compliance with the terms of the Settlement by promptly conducting credible fear
 17
      interviews, finding that about 90% of parents possessed a credible fear of
 18
      persecution in their home countries, and then relatively promptly releasing parents
 19
      with their Class Member children.
 20         Under the present Administration, that has changed and Plaintiffs understand
 21   now only about 10% of parents are found to possess a credible fear of persecution
 22   in their home countries, leaving the vast majority of parents and Class Members
 23   detained for long periods of time while seeking review of the denial of their
 24   credible fear claims.
 25         At the same time, unlike the Office of Refugee Resettlement (ORR) which
 26   has developed and adopted procedures to comply with the release provisions of the
 27   Settlement and the TVPRA, ICE, having previously accomplished substantial
 28   compliance by relatively promptly releasing about 90% of families together,

                                                  3         PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   developed no procedures to inform parents about their children’s Flores rights, or to
  2   assess family members identified by parents to whom they may want their children
  3   released. Nor did it develop written procedures to promptly release children to
  4   approved sponsors.
  5         When ICE recently confronted parents and demanded that they make
  6   immediate decisions about the release of children with no time to consult with their

  7   families or their attorneys, counsel for the amici/proposed Intervenors filed

  8   declarations with the Court strongly criticizing the procedures followed by ICE. In

  9
      response to those declarations, on June 26, 2020, the Court ordered as follows:
            The parties shall file another joint status report by July 8, 2020, regarding the
 10
            adoption and implementation of proper written advisals and other protocols
 11
            to inform detained guardians/parents about minors’ rights under the FSA and
 12
            obtain information regarding, and procedures for placement with, available
 13
            and suitable sponsors....
 14
      Order Re Updated Juvenile Coordinator Reports at 6 [Doc. # 333].3
 15
            The Court’s interest in having a fair notice of rights and a protocol to obtain
 16
      information regarding, and procedures for placement with, available and suitable
 17
      sponsors, was unquestionably driven by the proposed Intervenors’ lawyers’ detailed
 18
      declarations leading the Court to conclude that “ICE did not seek or obtain formal
 19
      waivers from detained parents of their children’s Flores rights during ICE officers’
 20   conversations with detained parents on or about May 15, 2020, [and] those
 21   conversations caused confusion and unnecessary emotional upheaval and did not
 22   appear to serve the agency’s legitimate purpose of making continuous
 23
 24
 25   3
       To provide further guidance to the parties, the Court clarified that any waiver
 26   should be only as narrow as the issue being waived. For example, a parent/guardian
      may waive a Class Member’s Flores right to release “without unnecessary delay” to
 27   an available suitable custodian in the order of preference listed in Paragraph 14,
 28   without waiving any of the Class Member’s other Flores rights. Id. Citing FSA at ¶
      14. [Doc. # 101].
                                                4            PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   individualized inquiries regarding efforts to release minors.” Order of May 22,
  2   2020, at 2.[Doc. # 799].
  3         Now, in a volte face, the amici/proposed Intervenors’ counsel appear to not
  4   want the Court to order any changes in how ICE informs parents of their children’s
  5   rights or in the steps ICE takes to implement a parent’s decision that they wish to
  6   have their child released.

  7         Plaintiffs’ counsel have consistently sought and obtained input from a wide

  8   range of stakeholders involved with the detention of immigrant children and have

  9
      filed with the Court numerous declarations by advocates representing families at the
      FRCs and child welfare and pandemic experts regarding the harms faced by Class
 10
      Members subject to congregate settings.4
 11
            This Court has repeatedly considered, cited, and relied upon the declarations
 12
      executed by counsel for the amici/proposed Intervenors, whether filed by Plaintiffs’
 13
      counsel, or, more recently, filed directly by the proposed Intervenors’ counsel in
 14
      their capacity as amici parties. See, e.g. Order at 3 [Doc. # 833]; Order of May 22,
 15
      2020, at 2 [Doc. # 799]; Order of April 24, 2020, at 6-7. [Doc. # 784].
 16
            As the Court knows, since March 2020, Plaintiffs have also vigorously and
 17
      successfully challenged a variety of reasons ICE provided for determining that
 18
      Class Members were allegedly not eligible for release because they were deemed
 19
      flight risks. See, e.g., Order of April 24, 2020, at 15-18 [Doc. # 784]; Order May
 20   22, 2020 at 2 [Doc. # 799].
 21         The Court’s orders issued at Plaintiffs’ request commencing in March 2020
 22   have had a positive impact on Class Members detained by ORR and ICE. There
 23   were 648 Class Members detained by ICE in FRCs as of March 28, 2020, about
 24   half that number, 342 Class Members, detained as of April 21, 2020, and 185 Class
 25   Members detained as of May 15, 2020. Order at n. 1. [Doc. # 833].
 26
 27   4
        At various stages of the litigation Plaintiffs have also consented to the
 28   participation of numerous amici parties who are all free to file briefs expressing
      their positions to the Court.
                                                 5           PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1         Neither Plaintiffs’ advocacy nor the Court’s remedial orders have been as
  2   meaningless as the proposed Intervenor’s believe.5
  3   II.   BACKGROUND REGARDING INTERVENORS’ OPPORTUNITY FOR
  4         INPUT REGARDING AN ICE PROTOCOL.
  5         In the period March to May, 2020, Plaintiffs’ counsel and proposed

  6   Intervenors’ counsel had numerous telephonic meetings and exchanged frequent

  7
      written correspondence discussing the pending motions, the Juvenile Coordinator
      reports, Defendants’ briefs, and the Court’s various Orders. As noted above,
  8
      Plaintiffs routinely filed declarations and numerous exhibits provided by the
  9
      amici/proposed Intervenor’s counsel of record with ICE.
 10
            On June 12, 2020, a conference call was held with the proposed Intervenors’
 11
      counsel of record at which time they expressed their opposition to the development
 12
      of any protocol for ICE to follow relating to compliance with Paragraph 14. Their
 13
      position, expressed again in their amici brief, was that parents should not be
 14
      required to make a binary choice between keeping their children with them or
 15
      having their children released to relatives. Instead, parents should be released with
 16
      their children.
 17
            Plaintiffs obviously support the release of families together and have
 18   attempted to achieve that result in this litigation as well as through administrative
 19   and legislative advocacy. The one time this Court mildly ordered the parents’
 20   release under existing laws and regulations, even that little was reversed by the
 21   Court of Appeals.
 22         Following the June 12, 2020, conference call with the proposed Intervenors’
 23   counsel, they sent correspondence advising Plaintiffs’ counsel that “[t]o the extent
 24
 25   5
        The Government’s Response in Opposition to Proposed Intervenors’ Ex Parte
 26   Application [Doc. # 872] cynically seizes upon the proposed intervention to argue
      that the Settlement’s benefits conferred on accompanied children should be entirely
 27   terminated. If the Government is serious, it is free to file its third motion to
 28   terminate accompanied class members’ rights. Its previous efforts have been
      unsuccessful and there are no new circumstances likely to lead to a different result.
                                                 6            PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   Judge Gee believes a waiver paradigm is the only path forward, we nonetheless
  2   believe you should … fight against this momentum. Your participation in
  3   developing a waiver process … directly conflicts with the interests of Class
  4   Members.” Exhibit 1 at 1. They further communicated that they wished to have no
  5   input into the discussions regarding development of an ICE protocol. Id. They
  6   wrote that Plaintiffs’ counsel should “[p]lace the burden of developing a ‘waiver’

  7   process on the government (preserving future litigation angles and avenues for

  8   strategic objection).” Id.6

  9
            Plaintiffs responded:
            The Court has made clear since 2016 that it won't Order the release of
 10
            a child who a parent does not wish to have released. The proposed
 11
            Order you shared would require that ICE release all children within
 12
            72 hours regardless of what a parent wants. That's not what the
 13
            settlement contemplates and no court has ever interpreted the
 14
            settlement to force ICE to release children when an accompanying
 15
            parent does not want their child separated from the parent. We support
 16
            the immediate release of all detained children as you propose, but only
 17
            if the child's parent wants their child released.
 18
      Exhibit 2 at 3. [Emphasis in original].
 19
            On the following day, June 17, 2020, counsel for the proposed Intervenors
 20   informed Plaintiffs’counsel that Plaintiffs did not have consent to file their
 21   declarations responding to the most recent Juvenile Coordinator’s report unless
 22   Plaintiffs agreed (i) to the proposed Intervenors’ counsels’ proposed Order
 23   requiring the release of all children within 72 hours without requiring parental
 24
 25   6
       The proposed Intervenors’ counsel stated that if Plaintiffs wished to file their May
 26   2020 declarations responding to the Juvenile Coordinator’s report, Plaintiffs had to
      agree not to meet and confer with the Government regarding a protocol as ordered
 27   by the Court, and to propose that the Court immediately Order the release of all
 28   children within 72 hours without mention of any informed consent by their parents.
      Id at 2.
                                                 7              PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   consent, (ii) agreed not to make any argument that mentions waiver (or assertion) of
  2   Flores rights, and (iii) that Plaintiffs had to advise the Court using their quoted
  3   language that “[a]ny question as to how the government complies with [the] Court's
  4   order[s] is for the government, not Plaintiff's counsel or this Court, to decide …”
  5   Ex. 3 at 1.
  6          Recognizing that their proposed Order could result in the separation of

  7   children from their parents without the parents’ consent, on June 17, 2020, counsel

  8   for the proposed Intervenors informed Plaintiffs that “[t]he [Intervenor’s] proposed

  9
      order requires release of the child … The government can decide if it wishes to
      separate. If it does, there is other litigation beyond Judge Gee’s scope (new and old)
 10
      that the government will need to deal with. This order makes it clear - if the
 11
      government separates, it’s because it chooses to … Should the government attempt
 12
      separation - we’ll be ready.” Exhibit 4.
 13
             Plaintiffs declined to submit a proposed Order that could be read by ICE to
 14
      require the immediate release of Class Members without first determining whether
 15
      their parents believed release was in the best interest of their children. Plaintiffs
 16
      also declined not to engage in a meet and confer with the Government as ordered by
 17
      the Court to explore development of a protocol to assess what parents believe is in
 18
      the best interest of their children with regards release.
 19
      III.   THE PROPOSED INTERVENORS’ POSITION
 20
             The proposed Intervenors explain that on July 17, 2020, 94 child welfare,
 21
      health, and safety experts signed a letter to ICE to call upon the Government to
 22
      safely and immediately release all children together with their families from the
 23
      FRCs. Application at 11. Plaintiffs fully support that effort and, like the proposed
 24
      Intervenors, strongly believe ICE should promptly release families together.
 25          Plaintiffs also agree with the proposed Intervenors that the Government has
 26   an “affirmative obligation pursuant to applicable federal regulations to evaluate the
 27   simultaneous release of the Plaintiff-Intervenors (accompanied Class Members) and
 28   their parent(s) in its discretion.” Id. at 12. However, since parents are not parties in

                                                  8               PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   this action, if ICE somehow violates its obligations under applicable federal
  2   regulations to evaluate the release of parents, that is something the proposed
  3   Intervenors’ counsel should litigate in a separate action.
  4            At the time they filed their Application to intervene, the proposed Intervenors
  5   were awaiting a decision from United States District Court Judge James E.
  6   Boasberg which they expected “sometime this week” regarding release of the

  7   detained families “together based on the Constitutional rights of the parents and

  8   their children.” Application at 12. Yesterday, Judge Boasberg issued a 26-page

  9
      decision denying the proposed Intervenors’ counsel’s motion for a preliminary
      injunction requiring the release of parents with their children. OMG v. Wolf,
 10
      Memorandum Opinion (July 22, 2020). [Doc. # 98].7
 11
               The three proposed Intervenors also argue that they wish to intervene so that
 12
      they may “seek reconsideration of the Government’s and class counsel’s stipulation
 13
      to an extension” of time to complete their meet and confer and submit a joint report,
 14
      and for ICE to release Class Members whose parents want their children released, a
 15
      request the Court approved on July 16, 2020. [Doc. ## 850 and 851]. Application at
 16
      14 and 17. This simply delays by several days the Court’s possible adoption of a
 17
      protocol the proposed Intervenors say they are opposed to being issued in the first
 18
      place.
 19
 20            At no time since the issuance of the Court’s first Order on March 28, 2020,
 21
      7
 22     Unlike the proposed Intervenors who appear to believe that this Court has ordered
      the release of children regardless of what their parents want, Judge Boasberg
 23   accurately describes this Court’s Order: “The [Flores June 26, 2020] order
 24   recognizes that a child’s parent(s) may choose not to have the child released from
      detention — e.g., if a suitable guardian is not available — in effect waiving the
 25   child’s rights under the FSA … Absent a further order requiring the release of adult
 26   detainees from the FRCs, then, parents face a difficult choice: release their children
      to sponsors for an unknown amount of time, or keep their children with them in
 27   conditions that Petitioners fear are dangerous.” Id. at 6. Regarding conditions at the
 28   FRCs, Judge Boasberg discusses at length the evidence in this case and the
      declarations of the proposed Intervenor’s counsel. Id. at 9-12.
                                                  9            PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   requiring the release of accompanied children, have counsel for the proposed three
  2   Intervenors informed ICE, the Plaintiffs, or the Court that their parents (or any other
  3   parents) wish to have their child released to a family member under Paragraph 14 of
  4   the FSA. Had they done so, and had ICE failed to promptly take steps aimed at the
  5   release of the proposed Intervenors, Plaintiffs and most likely this Court would
  6   have immediately intervened to ensure that the child was promptly released to a

  7   caregiver willing and capable to safely care for the child.8

  8         In short, the proposed Intervenors at any time before or after the entry of this

  9
      Court’s Orders commencing March 28, 2020, could have but seemingly have not
      sought release from ICE custody, other than as a family unit. Their detention is
 10
      caused by the confluence of Defendants’ decision not to release their parents, and
 11
      their parents’ decision, made in consultation with their counsel, not to request the
 12
      release of the proposed Intervenors. Their detention has nothing to do with a brief
 13
      extension to file a joint status report with the parties’ positions on a protocol the
 14
      three Intervenors don’t believe should be adopted.
 15
            The proposed Intervenors also argue in favor of intervention “to ensure that
 16
      the Court has all necessary factual information” needed to enforce the Settlement.
 17
      Application at 17. The three proposed Intervenors are represented by counsel who
 18
      have routinely filed lengthy declarations with this Court, including most recently
 19
      with their amici brief. The proposed Intervenors do not explain why they need to
 20   intervene in order to share their counsel’s declarations or other exhibits with the
 21   Court. Plaintiffs have routinely filed their declarations with the Court.
 22         Finally the proposed Intervenors argue they must be granted intervenor status
 23   “to ensure that their legal positions and arguments are known and articulated to the
 24   Court, …” Id.
 25         In the past, the proposed Intervenors’ counsel have repeatedly made their
 26   8
       As the proposed Intervenors’ counsel know, with or without a protocol, ICE was
 27   and remains obligated to release the proposed Intervenors without unnecessary
 28   delay if they are not flight risks or a danger, and if their parents designated an
      appropriate family member to whom they want their child released.
                                                 10            PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   positions known to Plaintiffs, Defendants, the Special Master, the media, and the
  2   Court in detailed correspondence and in declarations filed with the Court addressing
  3   all aspects of the Settlement and the Court’s prior Orders they believe ICE has
  4   violated. They did so again in great detail in their recently filed amici brief. [Doc. #
  5   831].
  6           Their main point appears to be this: “In this case, the Government and class
  7   counsel have stipulated to delay implementation of the Court’s orders in order to
  8   develop a protocol for accompanied Class Members to be given the ‘option’ of

  9   forced separation from their parents, or else face imminent exposure to a deadly

 10
      virus ….” Application at 16.
              However, as noted above, it is inaccurate to state that “the Government and
 11
      class counsel have stipulated to delay implementation of the Court’s orders …” The
 12
      brief stipulation approved by the Court extends by a few days the submission of a
 13
      joint report about what a protocol may include and extends the deadline for ICE to
 14
      release any child whose parent has requested the child’s release. The proposed
 15
      Intervenors’ parents have not sought the proposed Intervenors’ release.
 16
              The proposed Intervenors or their counsel also appear to misapprehend the
 17
      purpose of the protocol the Court ordered the parties to meet and confer about.
 18
      Nowhere has the Court ever stated or implied that it wanted the parties to develop a
 19
      proposed protocol to create an “‘option’ of forced separation [of Class Members]
 20
      from their parents … ” Application at 16. Neither the Court nor the parties have
 21   ever contemplated a protocol or procedures that would “force[ ]” the separation of
 22   Class Members from their parents.
 23
      IV.     CONCLUSION
 24
              As stated above, Plaintiffs do not believe intervention is justified on the
 25   ground that Class Members are not adequately represented by Plaintiffs’ counsel.
 26   The history of the litigation makes this clear.
 27           Nevertheless, Plaintiffs have always supported and continue to support the
 28   goal of the proposed Intervenors to have their positions considered by the parties,

                                                  11           PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   the Special Master, and this Court. While the proposed Intervenors complain that
  2   they have had no input into the discussions concerning the protocol, even though
  3   they were invited to do so and rejected the invitation in writing, Plaintiffs see no
  4   harm in the Court briefly deferring issuing any Order adopting a protocol so that the
  5   proposed Intervenors can join further meet and confers with the parties and/or the
  6   Special Master regarding the necessity for or content of any protocol.

  7            Alternatively, the Court could order the Special Master to again meet and

  8   confer with the proposed Intervenor’s counsel to obtain their positions on the

  9
      protocol or any other concerns they may have and then report to the Court.
               Alternatively, the proposed Intervenors may respond to the protocol issue or
 10
      any other issue of concern in their capacity as amici parties.
 11
               Alternatively, as many other class members have done, if the proposed
 12
      Intervenors believe they possess claims not being adequately addressed by
 13
      Plaintiffs or by this Court, they are free to bring individual actions to review their
 14
      custody status under the terms of Paragraph 24B of the FSA.
 15
               Alternatively, the proposed Intervenors are free to appeal Judge Boasberg’s
 16
      decision denying the immediate release of the families the proposed Intervenors’
 17
      counsel represent, or to file individual habeas corpus actions seeking parents’
 18
      release.
 19
               Plaintiffs leave it to the Court to determine whether and if so how it wishes to
 20   extend to the proposed Intervenors the opportunity to have their positions expressed
 21   and considered.
 22            However, to the extent the proposed Intervenors rely on the alleged
 23   inadequacy of representation of the class to achieve intervention, that much is
 24   unsupported by the record in this case, and should not be relied upon as the basis
 25   for granting intervention.9
 26
      ///
 27
 28   9
          See footnote 1, supra.
                                                  12           PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
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  1   Dated: July 23, 2020.       CENTER FOR HUMAN RIGHTS AND
                                  CONSTITUTIONAL LAW
  2                               Peter A. Schey
  3
  4                                     /s/ Peter Schey
  5                                     Peter A. Schey
                                        Attorneys for Plaintiffs
  6
  7   ///
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                                          13           PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
                                                                              CV 85-4544-DMG-AGRX
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  1                             CERTIFICATE OF SERVICE

  2
            I hereby certify that on July 23, 2020, I served the foregoing
  3
  4
       PLAINTIFFS’ RESPONSE TO EX PARTE APPLICATION RE
       INTERVENTION
  5
  6
            on all counsel of record by means of the District Clerk’s CM/ECF electronic
  7
  8
      filing system.

  9
 10                                                 /s/ Peter Schey
                                                    PETER SCHEY
 11                                                 Center for Human Rights and
 12                                                 Constitutional Law
 13                                                 Attorney for Plaintiffs
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                                               14           PLAINTIFFS’ RESPONSE TO PROPOSED INTERVENTION
                                                                                   CV 85-4544-DMG-AGRX
